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                       IN THE UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF ARKANSAS (Harrison)

IN RE: BILLY G. SCALLORN,                                                CASE NO. 3:22-bk-70129
       Debtor                                                                     CHAPTER 13


                                NOTICE OF APPEARANCE AND
                              REQUEST FOR SERVICE OF NOTICE

       PLEASE TAKE NOTICE that Kael K. Bowling and the law firm of Friday, Eldredge &
Clark, LLP, represents CS Bank as a creditor herein.

        The undersigned attorney and law firm hereby enters their appearance pursuant to § 1109
(b) of the Bankruptcy Code and Bankruptcy Rule 9010(b) and requests copies of all notices and
pleadings pursuant to Bankruptcy Rules 2002(a), (b) and (f), and 3017(a). All such notices should
be addressed as follows:

                 Kael K. Bowling
                 Friday, Eldredge & Clark, LLP
                 3350 S. Pinnacle Hills Parkway, Suite 301
                 Rogers, AR 72758

        PLEASE TAKE FURTHER NOTICE that, pursuant to § 1109 (b) of the Bankruptcy Code,
the foregoing demand includes not only the notices and papers referred to in the rules specified
above, but also includes, without limitation, notices of any application, complaint, demand,
hearing, motion, petition, pleading or request, whether formal or informal, written or oral, and
whether transmitted or conveyed by mail, delivery, telephone, telecopier or otherwise filed or
served with regard to the above case and the proceedings therein.

        This request is not intended to and does not constitute a waiver of personal or subject matter
jurisdiction or any rights whatsoever that CS Bank has under the Federal Rules of Bankruptcy
Procedure or Federal Rules of Civil Procedure, including, but not limited to, Federal Rule of
Bankruptcy Procedure 7004 or Federal Rule of Civil Procedure 4




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                                             Respectfully submitted,

                                             Kael K. Bowling, AR Bar 2016220
                                             FRIDAY, ELDREDGE & CLARK, LLP
                                             3350 S. Pinnacle Hills Parkway, Suite 301
                                             Rogers, AR 72758
                                             Office: 479-695-2118
                                             kbowling@fridayfirm.com

                                             By:     /s/ Kael K. Bowling
                                                     Kael K. Bowling

                                             Counsel for CS Bank

                                   CERTIFICATE OF SERVICE

        I, Kael K. Bowling, do hereby certify that a copy of the foregoing is being electronically
filed with the Court and that all parties of record will receive a copy of same via the Court’s
electronic filing notification system (ECF) on this 10th day of February, 2022.

                                                     /s/ Kael K. Bowling
                                                     Kael K. Bowling




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